            Case 2:15-cr-00175-RSL     Document 424      Filed 09/25/17     Page 1 of 1



 1

 2

 3

 4

 5

 6

 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9
      UNITED STATES OF AMERICA,
10
                          Plaintiff,
11
                                                            NO. CR15-175RSL
                   vs.
12
      MARYSA RENEE COMER,                                   ORDER DENYING DEFENDANT’S
13
                                                            MOTION FOR
                          Defendant.                        RECONSIDERATION OF COURT
14
                                                            ORDER DENYING RELEASE ON
                                                            BOND
15

16
            The Court, having considered defendant’s Motion for Reconsideration of Court Order
17
     Denying Release on Bond, Dkt. # 406, the government’s response and all the records and files in
18
     this case,
19
            It is ordered that defendant’s Motion for Reconsideration of Court Order Denying Release
20
     on Bond is hereby, DENIED.
21

22
            DATED this 25th day of September, 2017.
23

24

25
                                             A
                                             Robert S. Lasnik
26                                           United States District Judge

27
     ORDER DENYING DEFENDANT’S MOTION FOR RECONSIDERATION OF COURT ORDER
28   DENYING RELEASE ON BOND
